 Case 2:19-cv-07069-JAK-JEM Document 21 Filed 12/09/19 Page 1 of 1 Page ID #:169

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                                          CASE NUMBER:
BRIAN WHITAKER

                                          Plaintiff(s),      2:19−cv−07069−JAK−JEM

      v.
GILL FAMILY PROPERTIES, L.P. , et al.

                                                                  ORDER/REFERRAL TO ADR
                                        Defendant(s).




The Court, having reviewed the parties’ Request: ADR Procedure Selection (Form ADR-01), the
Notice to Parties of Court-Directed ADR Program, or the report submitted by the parties pursuant
to Fed. R. Civ. P. 26(f) and L.R. 26-1, hereby:
ORDERS this case referred to:
        ADR PROCEDURE NO. 1: This case is referred to             the magistrate judge assigned to
the case or    the magistrate judge in Santa Barbara for such settlement proceedings as the judge
may conduct or direct. Counsel are directed to contact the magistrate judge’s courtroom deputy to
arrange a date and time for the ADR proceeding.
        ADR PROCEDURE NO. 2: This case is referred to the Court Mediation Panel. Within
twenty-one (21) days, plaintiff shall obtain the consent of a neutral on the Court Mediation Panel
who will conduct the mediation and shall file Form ADR-2, Stipulation Regarding Selection of
Panel Mediator. If the parties have not selected and obtained the consent of a Panel Mediator within
twenty-one (21) days, the ADR Program (213-894-2993) will assign one. Forms and a list of the
Panel Mediators are available on the Court website, www.cacd.uscourts.gov. Absent extraordinary
circumstances, parties cannot request a continuance within three (3) business days of a scheduled
mediation.
        ADR PROCEDURE NO. 3: This case is referred to private mediation. Counsel are
directed to contact the private mediator of their choice to arrange a date and time for the mediation.
IT IS FURTHER ORDERED:
     The ADR proceeding is to be completed by: June 5, 2020 .
     The parties shall file a notice of settlement or joint report by:      June 12, 2020 .
     The Court further sets a status conference for: June 22, 2020 at 11:30 AM .



   Dated: December 9, 2019
                                                          United States District Judge/Magistrate Judge

   ADR−12 (04/18)                    −ORDER/REFERRAL TO ADR−                                    Page 1 of 1
